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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


                                        )
DESKTOP METAL, INC.,                    )
                                        )
                Plaintiff and
                                        )
                Counterclaim Defendant,
                                        )
v.                                      )
                                        )
                                                 Civil Action No. 1:18-CV-10524-WGY
MARKFORGED, INC. AND MATIU              )
PARANGI,                                )
                                        )
                Defendants and          )
                Counterclaim Plaintiff )         ORAL ARGUMENT REQUESTED
                (Markforged, Inc.),     )
                                        )
v.
                                        )
RICARDO FULOP, JONAH MYERBERG,          )
BOSTON IMPACT LLC, and AMY BUNTEL, )
                                        )
               Third-Party Defendants. )
                                        )


  MARKFORGED, INC.'S AND MATIU PARANGI'S MOTION TO SYNCHRONIZE
               THE DISCOVERY AND TRIAL SCHEDULE

       Defendant and Counterclaim Plaintiff Markforged, Inc. ("Markforged") and Defendant

Matiu Parangi (collectively, "Defendants") hereby respectfully request that this Court

synchronize the discovery and trial schedule of the Third-Party Defendants with the schedule

governing Plaintiff Desktop Metal, Inc.'s ("Desktop Metal") and Defendants and Counterclaim

Plaintiff's claims and counterclaims. Synchronization of the schedule is necessary to avoid

prejudicing Markforged with two trials on the same facts, which apart from the added expense

and lack of judicial economy, would raise complicated issues of res judicata and collateral
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estoppel, and impinge upon Markforged's Seventh Amendment right to a trial by jury.

Synchronizing the schedule also is in accord with Federal Rule of Civil Procedure 1, as it would

promote the just, speedy, and efficient resolution of all parties' claims. For the foregoing

reasons, which are more fully explicated in the accompanying memorandum of law, Defendants

respectfully request that this Court grant their motion.




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                                            Respectfully submitted,
Dated: May 7, 2018                        /s/ Harvey J. Wolkoff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon attorneys of

record on May 7, 2018.

                                                         /s/ Aliki Sofis


                             LOCAL RULE 7.1 CERTIFICATION

       I certify that Markforged, Inc. and Matiu Parangi have complied with the provisions of

Local Rule 7.1 by meeting and conferring with counsel for Desktop Metal, Inc., Ricardo Fulop,

Jonah Myerberg, Boston Impact, LLC, and Amy Buntel on May 7, 2018. The parties were

unable to agree with respect to the issues raised in the Motion and are thus at an impasse and

require the Court's assistance to resolve the dispute.

                                                         /s/ Kaitlyn M. O'Connor




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